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                   IN THE UNITED STATES DISTRICT           COURT~'
                       FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION


UNITED STATES OF AMERICA,
                                             CR ll-3-BU-DWM
                          Plaintiff,

             vs.                       FINDINGS AND RECOMMENDATION
                                       CONCERNING PLEA
NICHOLAS ALBRECHT,

                          Defendant.


      The Defendant, by consent, has appeared before the undersigned pursuant to

Fed. R. Crim. P. 11 and has entered a plea of guilty to the charge of conspiracy to

distribute methamphetamine as set forth in the Indictment. After examining the

Defendant under oath, I have made the following determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against him and

consequences ofpleading guilty to the charge,



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      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      Therefore, I recommend that the Defendant be adjudged guilty of the

offense charged in the Indictment and that sentence be imposed. A presentence

report has been ordered.

      This report is forwarded with the recommendation that the Court defer

a decision re2ardin2 acceptance until the Court has reviewed the presentence

report.

      DATED this 24th day of March, 2011.




                                            iah C. Lynch
                                       U i ed States Magistrate Judge




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